                 IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                     No. 1:19-CR-03113 JB

GENEVIVE ATENCIO,

             Defendant.


        NOTICE OF COUNSEL’S REQUEST FOR APPROVAL OF NON-
     APPEARANCE OR, IN THE ALTERNATIVE, NOTICE OF ATTENDANCE
                       PREFERENCE BY ZOOM

        Defendant, Genevive Atencio, by and through undersigned counsel,

Michael V. Davis, respectfully requests the Court approve Defendant and

undersigned counsel’s non-appearance at the Omnibus Hearing currently

scheduled for March 30, 2021. Respectfully, counsel states:

        1.   The above case is currently set for an Omnibus Hearing on March

30, 2021. Ostensibly, counsel’s presence is required along with Defendant.

        2.   Defendant has withdrawn all motions she has filed, as well as all

joinders in motions filed by co-Defendants in this case. Consequently,

Defendant has no business before the Court at the Omnibus hearing.

        3.   Undersigned counsel has a long-standing dentist appointment at

or about the same time as the scheduled hearing.

        4.   Further, Defendant is a certified dental assistant and is unable to

get off of work on March 30, 2021.
                     5.      In light of the above, Defendant is requesting she not be required

            to attend the scheduled Omnibus Hearing.

                     6.      Similarly, undersigned counsel also requests that his appearance

            be waived.

                     7.      In the alternative, if the Court denies this request, counsel hereby

            notifies the Court of his preference to attend the hearing remotely via Zoom.

                     8.      Additionally, Defendant will provide notice of her waiver of personal

            appearance and agrees to appear remotely via Zoom.

                     9.      Counsel has discussed this with AUSA, Elaine Ramirez, and she

            has no objection to counsel and Defendant’s non-appearance at the Omnibus

            Hearing.


                                                        Respectfully submitted,

                                                        Michael V. Davis
                                                        Attorney & Counselor at Law, P.C.
                                                        Post Office Box 3748
                                                        Corrales, New Mexico 87048
                                                        Telephone: (505) 242-5979

                                                        FILED ELECTRONICALLY

                                                   By: /s/ Michael V. Davis
                                                      Michael V. Davis
                                                      Attorney for Defendant Genevive Atencio




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                                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I filed the foregoing document electronically through
            the CM/ECF system. Pursuant to the CM/ECF Administrative Procedures
            Manual, § 1(a) and § 7(b)(2), such filing is the equivalent of service on parties
            of record.

             /s/ Michael V. Davis
            Michael V. Davis




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